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                     UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                                   WACO
                                   WACO DIVISION


UNITED STATES OF AMERICA                        §
                                                §     CRIMINAL NO:
vs.                                             §     WA:20-CR-00097(1)-ADA
                                                §
 1 CECILY    ANN   AGUILAR                      §

                    ORDER        SETTING        MOTIONS         HEARING


       IT IS HEREBY ORDERED that the above entitled and numbered case is set for
MOTIONS HEARING in District Courtroom #1, on the Third Floor of the United States
Courthouse, 800 Franklin Ave, Waco, TX, on Tuesday, August 16, 2022 at 10:30 AM.



counsel for defendant, the United States Attorney, United States Pretrial Services and the United
States Probation Office. Counsel for the defendant shall notify the defendant of this setting and,
if the defendant is on bond, advise the defendant to be present at this proceeding.

        IT IS SO ORDERED this 4th day of August, 2022.




                                                Alan D Albright
                                                UNITED STATES DISTRICT JUDGE
